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 8                            UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                         Case No.: 14-CR-0215-GPC
12                                     Plaintiff,
                                                        ORDER DENYING MOTION FOR
13    v.                                                REDUCTION OF SENTENCE
14    JUAN CASTRO-NAVARRO,
15                                   Defendant.

16
17          On June 26, 2015, Juan Castro-Navarro (“Defendant”) was sentenced to a custodial
18    term of 182 months for a conviction of conspiracy to distribute methamphetamine and
19    heroin. (ECF No. 166.) In 2014, the United States Sentencing Commission promulgated
20    Amendment 782 (“Drugs Minus 2”), which, effective November 1, 2014, lowered the base
21    offense levels for most drug quantities in USSG § 2D1.1(c), and made this change
22    retroactive via Amendment 788. See also USSG § 1B1.10(c).
23          On November 3, 2015, Defendant, proceeding pro se, filed a Motion for Reduction
24    of Sentence under 18 U.S.C. § 3582(c).
25          Defendant is not eligible to receive a sentence reduction because his original
26    sentence was calculated using the Sentencing Guidelines as amended November 1, 2014.
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 1    Moreover, even if the Defendant’s sentence had not been calculated according to amended
 2    guidelines, Defendant would not have been eligible for a 2 level reduction under the
 3    amended guidelines in any case since the case involved a conspiracy to distribute over 40
 4    kilograms of methamphetamine (actual) and 2 kilograms of heroin. Accordingly, the Court
 5    DENIES Defendant’s Motion for Reduction of Sentence.
 6                                        II. DISCUSSION
 7    A. Modification of Sentence Under 18 U.S.C. § 3582(c)
 8          Generally, a federal court “may not modify a term of imprisonment once it has been
 9    imposed.” 18 U.S.C. § 3582(c). An exception to that rule lies “in the case of a defendant
10    who has been sentenced to a term of imprisonment based on a sentencing range that has
11    subsequently been lowered by the Sentencing Commission.” § 3582(c)(2). When the
12    Commission makes a Guidelines amendment retroactive, 18 U.S.C. § 3582(c)(2)
13    authorizes a district court to reduce an otherwise final sentence that is based on the
14    amended provision. Any reduction must be consistent with applicable policy statements
15    issued by the Sentencing Commission. Id.
16          Amendment 782 to the United States Sentencing Guidelines, effective November 1,
17    2014, lowered the penalties for most drug offenses by reducing the offense level in the
18    § 2D1.1 Drug Quantity Table by two levels.            In Amendment 788, the Sentencing
19    Commission decreed that Amendment 782 may be applied retroactively to lower the
20    sentences of previously sentenced inmates.
21          In Dillon v. United States, 560 U.S. 817, 826-27 (2010), the Supreme Court set forth
22    a two-step inquiry for assessing a motion for reduction of sentence under § 3582(c). Id.
23          At step one, § 3582(c)(2) requires the court to follow the Commission’s
            instructions in § 1B1.10 to determine the prisoner’s eligibility for a sentence
24
            modification and the extent of the reduction authorized. Specifically,
25          § 1B1.10(b)(1) requires the court to begin by “determin[ing] the amended
            guideline range that would have been applicable to the defendant” had the
26
            relevant amendment been in effect at the time of the initial sentencing. “In
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 1          making such determination, the court shall substitute only the amendments
            listed in subsection (c) for the corresponding guideline provisions that were
 2
            applied when the defendant was sentenced and shall leave all other guideline
 3          application decisions unaffected.”
 4
                         *      *      *     *      *      *       *       *
 5
            At step two of the inquiry, § 3582(c)(2) instructs a court to consider any
 6
            applicable § 3553(a) factors and determine whether, in its discretion, the
 7          reduction authorized by reference to the policies relevant at step one is
            warranted in whole or in part under the particular circumstances of the case.
 8
 9    B. Determination of Amended Guideline Range
10          Under § 1B1.10, a defendant is eligible for a sentencing modification when an
11    amendment listed in § 1B1.10(d) lowers “the guideline range that corresponds to the
12    offense level and criminal history category determined pursuant to § 1B1.1(a), which is
13    determined before consideration of any departure provision in the Guidelines Manual or
14    any variance.” USSG § 1B1.10 n.1(A). Section 1B1.10(b)(2) confines the extent of the
15    reduction authorized. Once the Court determines the amended guideline range, it “shall
16    not reduce the defendant’s term of imprisonment . . . to a term that is less than the minimum
17    of the amended guideline range.” Id. § 1B1.10(b)(2)(A). The only exception to this
18    prohibition applies if the defendant previously received a downward departure “pursuant
19    to a government motion to reflect the defendant’s substantial assistance to authorities.” In
20    that case, the Court may apply “a reduction comparably less than the amended guideline
21    range.” Id. § 1B1.10(b)(2)(B).
22          As Amendment 782 is listed in § 1B1.10(d), the Court must determine the “amended
23    guideline range” that would have been applicable to the defendant had Amendment 782
24    been in effect at the time of the sentence. USSG § 1B1.10(b)(1). Defendant has calculated
25    the “amended guideline range” by including the reduction for mitigating circumstances.
26          Defendant’s position is premised on a version of § 1B1.10 that was in effect prior to
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 1    November 1, 2011. It provided that, if the defendant originally received a below-
 2    Guidelines departure or variance, a comparable departure “may be appropriate” when
 3    granting a sentence reduction under § 3582(c)(2), while a comparable variance “generally
 4    would not be appropriate.” See USSG § 1B1.10(b)(2)(B) (2010). As of November 1, 2011,
 5    the Sentencing Commission amended § 1B1.10 so that only a defendant who previously
 6    received a downward departure based on cooperation can obtain a reduction below the
 7    amended guideline range. (ECF No. 46 at 5.) The Commission imposed a “single
 8    limitation applicable to both departures and variances” in order to “avoid unwarranted
 9    sentencing disparities” and “undue complexity and litigation.” See Notice of Final Action
10    Regarding Amendment to Policy Statement 1B1.10, 76 Fed. Reg. 41332, 41332, 41334
11    (July 13, 2011).
12              Note 1(A) to § 1B1.10 specifically states that the amended guideline range “is
13    determined before consideration of any departure provision in the Guidelines Manual or
14    any variance.” § 1B1.10 n.1(A) (emphasis added). A commentary provision—such as
15    Application Note 1, “which functions to interpret a guideline or explain how it is to be
16    applied”—is binding as long as the Commentary does not conflict with the Constitution, a
17    federal statute, or the guideline at issue. Stinson v. United States, 508 U.S. 36, 42-43 (1993)
18    (internal quotation marks and alterations omitted). Thus, the Court may not factor in a
19    “fast-track” or any other departure into the amended guideline range unless an exception
20    exists.
21              The exception to this rule is found in § 1B1.10(b)(2)(B). Under § 1B1.10(b)(2)(B),
22    reductions “comparably less than the amended guideline range” are permitted only in cases
23    where the original term of imprisonment was below the applicable guideline range
24    “pursuant to a government motion to reflect the defendant’s substantial assistance to
25    authorities.” Id. § 1B1.10(b)(2)(B). Every circuit court that has addressed the issue agrees
26    that § 1B1.10(b)(2)(B) bars a district court from lowering a defendant’s below-guideline
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 1    sentence unless the departure at his original sentencing was based on his substantial
 2    assistance to the government. See United States v. Berberena, 694 F.3d 514, 518-19 (3d
 3    Cir. 2012); United States v. Anderson, 686 F.3d 585, 588 (8th Cir. 2012); United States v.
 4    Glover, 686 F.3d 1203, 1207 (11th Cir. 2012); accord United States v. Colon, 707 F.3d
 5    1255, 1258 (11th Cir. 2013); United States v. Lizalde, 502 Fed. Appx. 655, 657 (9th Cir.
 6    2012) (unpublished); United States v. Beserra, 466 Fed. Appx. 548, 550 (7th Cir. 2012)
 7    (unpublished).
 8          A motion for downward departure based on mitigating circumstances is not a motion
 9    for substantial assistance. Unlike a substantial assistance motion, it does not require
10    “substantial assistance in the investigation or prosecution of another person.” In addition,
11    Note 3 to § 1B1.10 omits a § 5K2.0 motion as one for substantial assistance. Note 3
12    specifically provides that “[t]he provisions authorizing such a government motion are
13    § 5K1.1; (2) 18 U.S.C. § 3553(e); and (3) Fed R. Crim. P. 35(b).” Id. n.3. Further, a
14    defendant’s “amended guideline range” does not incorporate previously granted variances
15    pursuant to 18 U.S.C. § 3553(a)(1) as they also do not qualify as “substantial assistance
16    departures.”
17          Ultimately, the Commission decided to impose a “single limitation applicable to
18    both departures and variances” in order to “avoid unwarranted sentencing disparities” and
19    “undue complexity and litigation.” Hogan, 722 F.3d at 61. This decision limits the number
20    of defendants who will be able to obtain relief under § 3582(c)(2) in light of the guideline
21    amendments. The First Circuit has commented that they are “troubled by the extent to
22    which the amended policy statement and Application Notes severely limit the number of
23    defendants . . . who will be able to obtain relief” but recognize that “in these instances the
24    district court’s hands [are] tied.” Id. at 63.
25          In the present case, Defendant’s sentence was already calculated according to the
26    amended guidelines. But even if his original sentence had not been calculated according to
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 1    the amended guidelines, Defendant would not have been eligible for a 2 level reduction
 2    under the amended guidelines in any case. The present case involved a conspiracy to
 3    distribute over 40 kilograms of methamphetamine (actual) and 2 kilograms of heroin.
 4    Under the guidelines in effect at the time of sentencing, the base offense level was level
 5    38. The Court increased the guidelines by 4 levels: 2 levels for use of violence (§
 6    2D1.1(c)(1)) and 2 levels for major role (§ 3B1.2), and reduced the guidelines by 3 levels
 7    for acceptance of responsibility (§ 3E1.1(b)). The Court found that the adjusted offense
 8    level was 39, the Criminal History Category was 1, and the applicable guideline range was
 9    262-327 months. The Court then departed downward two levels for mitigating
10    circumstances (§ 5K2.0) and granted a 28 month downward variance based on the
11    Defendant’s life of accomplishment in engineering, construction, and business, as well as
12    the fact that Defendant was introduced to drug trafficking following kidnapping and
13    extortionate demands for money. The Defendant received a sentence of 182 months.
14          Applying the amended base offense level provided by Amendment 782, the base
15    offense level is 38. Leaving all other guideline application decisions unaffected and
16    removing departures and variances results in an increase of 4 levels: 2 levels for use of
17    violence (§ 2D1.1(c)(1)) and 2 levels for major role (§ 3B1.2), and a reduction of 3 levels
18    for acceptance of responsibility (§ 3E1.1(b)). The adjusted offense level is 39, the Criminal
19    History Category is I and the applicable guideline range is 262-327 months. In the instant
20    case, Defendant received a below-guideline sentence based on mitigating circumstances,
21    not substantial assistance to the government. To obtain relief under § 3582(c), the
22    guideline amendments at issue must “lower[]” a defendant’s applicable guideline range.
23    U.S.S.G. § 1B1.10(a)(2)(B) (“A reduction in [a] defendant’s term of imprisonment is not
24    consistent with this policy statement and therefore is not authorized under 18 U.S.C. §
25    3582(c)(2) if . . . [the amendment] does not have the effect of lowering the defendant’s
26    applicable guideline range”). Here, they do not. Defendant’s amended guideline range
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 1    would have been 262 to 327 months and Defendant received a below-guideline sentence
 2    of 182 months. Since the lower limits of the amended guideline range is higher than the
 3    original sentence, Defendant is ineligible for modification of their sentence.
 4          Accordingly, the Court DENIES Defendant’s Motion for Reduction of Sentence.
 5          IT IS SO ORDERED.
 6    Dated: November 3, 2015
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